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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


PETER LYOYA as the
Personal Representative for
THE ESTATE OF PATRICK LYOYA
                                                  Case No.:1:22-CV-1160
(deceased),

      Plaintiff,
                                                  Hon.
v.


CHRISTOPHER SCHURR and
THE CITY OF GRAND RAPIDS,
     Defendants.




                   AMENDED COMPLAINT & JURY DEMAND


      NOW COMES Plaintiff, through counsel, JOHNSON LAW, PLC,

complaining of Defendants, and respectfully alleges as follows:

                           JURISDICTION & VENUE

       1.    This is a civil rights action in which the Plaintiff seeks relief for the

violation of rights secured by 42 U.S.C. § 1983, the Fourth Amendment to the United

States Constitution, and Michigan state law.

       2.    Jurisdiction of this Court is found upon 28 U.S.C. § 1331.




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       3.    The events that give rise to this lawsuit took place in Grand Rapids,

Michigan, which is in the Western District of the State of Michigan.

       4.    Venue is appropriate in the Western District of Michigan pursuant to

28 U.S.C. § 1391(b) because the City of Grand Rapids is in the Western District of

Michigan, the individual Defendant is an employee of the Grand Rapid Police

Department, and the events that give rise to the lawsuit took place in Grand Rapids,

Michigan.

                                     PARTIES

       5.    Each of the above paragraphs are incorporated here.

       6.    Plaintiff Peter Lyoya is the decedent’s--Patrick Lyoya (“Patrick”)—

father and the personal representative of Patrick’s estate.

       7.    Plaintiff proceeds here in accordance with Michigan’s Wrongful Death

Act. MCL 600.2921, et seq.

       8.    On April 4, 2022, Defendant Christopher Schurr (“Schurr”), was

employed by the Defendant, the City of Grand Rapids (“City”), as a law enforcement

officer and was acting under color of state law and within the course and scope of

his employment with City.

       9.    City is a political subdivision of the State of Michigan and has a legal

duty to enact and enforce policies, procedures, protocols, and customs that conform

with the Constitution and laws of the State of Michigan, as well as the United States.


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                                FACTUAL ALLEGATIONS

          10. Each of the above paragraphs are incorporated here.

          11. On April 4, 2022, at approximately 8:11 a.m., Patrick (a 26-yr-old

Black male) was driving a tan 2003 Nissan Altima, in Grand Rapids, Michigan,

through a residential neighborhood, near the area of Nelson Avenue, SE and Griggs

Street.

          12. Patrick’s friend (also, a Black male) was with him, riding in the front

passenger seat.

          13. Schurr initially spotted Patrick and his friend when he was driving in

the opposite direction. Just as their cars passed each other, Schurr instantly turned

around to follow behind Patrick’s car.

          14. Seconds later, without any discernable ground for reasonable suspicion

of a motor code violation or criminal activity, Schurr activated his emergency lights

to pull Patrick over.

          15. Patrick complied and pulled his car over to the side of the road.

          16. His friend stayed in the front passenger seat, while Patrick got out and

stood next to his car.

          17. Before Schurr could get out of his patrol car, he started yelling at

Patrick to get back in his car. Then, he walked right up to Patrick where he was

standing.


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       18. Patrick asked Schurr what he did wrong. Notably, Patrick never

articulated a verbal threat to Schurr or anyone else.

       19. Though he did not and could not have seen the back of Patrick’s car

before he whipped his patrol car around, Schurr told Patrick that the license plate on

his Nissan did not match the vehicle.

       20. Patrick continued to stand next to Schurr, by his driver’s door, while

also trying to direct his friend to retrieve his license from inside the car.

       21. Then, Patrick shut the driver’s door and began walking toward the front

end of his car. As soon as Patrick moved, Schurr grabbed Patrick with both hands

from behind and told him to put his hands behind his back.

       22. Patrick turned and began to run away from Schurr toward an adjacent

yard. Schurr radioed “got one running” and chased after Patrick on foot.

       23. Schurr grabbed, kicked, punched, slapped, and kneed Patrick to the

ground.

       24. Patrick got back on his feet and passively tried to free himself from

Schurr.

       25. Schurr only grew more combative and physically aggressive toward

Patrick.

       26. Schurr grabbed Patrick’s sweater up with his left hand, while he drew

and aimed his Taser at him with his right.


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       27. Contrary to his training, Schurr never gave Patrick a verbal warning

before he deployed the Taser.

       28. As the first probe deployed, Patrick reflexively extended his left arm to

deflect the Taser’s barrel away from him, to protect himself.

       29. At the same time, the Taser remained firmly within the grip of Schurr’s

right hand.

       30. Again, rather than create space, Schurr stayed within Patrick’s reach,

re-directed the Taser, and deployed the second, and last remaining, probe. Neither

probe made contact with Patrick.

       31. Patrick then lost his balance and fell down to the ground with his left

arm still extended away from his body in an attempt to aim the Taser’s barrel at the

ground, and away from him.

       32. Schurr knew that after the second deployment his Taser could only be

used as a drive-stun. Yet, he pinned Patrick to the ground using his full body weight

on Patrick’s back.

       33. Schurr knew Patrick wasn’t armed. But that didn’t stop him from

holding Patrick down, grabbing his gun, pressing it along the base of his skull, and

killing him with one shot to the back of the head.

       34. This fatal traffic stop was recorded in part by Schurr’s body camera,

Patrick’s passenger’s cell phone, and a Ring™ video camera.


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      35.    Throughout the encounter, even as he passively resisted being placed

 under arrest and absorbed Schurr’s repeated physical attacks, Patrick never voiced

 a threat or returned a physical blow, in any form, to Schurr.

                                 COUNT I:
              42 U.S.C. § 1983-VIOLATION OF CIVIL RIGHTS
                    (Fourth Amendment – Excessive Force)

       36. Each of the above paragraphs are incorporated here.

       37. The Fourth Amendment guarantees citizens to be secure in their

persons from unreasonable searches and seizures and the use of excessive force.

       38. At all relevant times, Plaintiff had a clearly established right to liberty,

including his right to personal safety and bodily integrity, as well as protection from

unreasonable, excessive, and unlawful seizures pursuant to the Fourth Amendment

to the United States Constitution.

       39. At all times relevant, as a law enforcement officer acting under color of

law, Schurr was required to obey the laws of the United States.

       40. Based on the totality of the circumstances, Defendant Schurr’s act of

shooting Patrick in the back of the head was objectively unreasonable.

       41. Schurr lacked any lawful basis to shoot and kill Patrick.

       42. Schurr was on top of Patrick and holding Patrick down to the ground at

the time Schurr reached for his deadly weapon, placed it to the back of Patrick’s

head, and pulled the trigger.


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       43. Patrick was not armed and posed no threat to Schurr or any other

person’s safety.

       44. When he shot Patrick in the back of the head, Schurr had no information

to support a reasonable suspicion that Patrick was dangerous.

       45. No reasonable officer would have responded to Patrick’s get away from

a traffic stop as a reasonable basis to use deadly force.

       46. Schurr’s actions constituted excessive force in violation of the Fourth

Amendment.

       47. As a proximate result of Schurr’s illegal and unconstitutional conduct,

Patrick Lyoya died and suffered damages as a result.

                                  COUNT II:
              42 U.S.C. § 1983--VIOLATION OF CIVIL RIGHTS
                             (Municipal Liability)

       48. Each of the above paragraphs are incorporated here.

       49. City has a policy, practice, procedure, protocol, and/or custom that

demonstrates deliberate indifference to the rights of the Plaintiff and was the cause

and moving force behind the violations and harm suffered.

       50. City has a history of whitewashing excessive force cases and citizen

complaints, and routinely fails to adequately discipline their offending officers, even

when City has concluded that the officer violated its policies or procedures.




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       51. From June 1, 2015 until May 21, 2020, City received 79 citizen

complaints for excessive use of force by their police officers yet exonerated or

cleared every single officer of any wrongdoing in each complaint made, except in

2.5% of cases.

       52. The rare times City finds an officer to have used excessive force,

officers are not sufficiently retrained or disciplined in a manner that would

discourage future violations of department policies and constitutional rights. Instead,

City gives a “slap on the wrist” punishment to officers which only diminishes the

importance of their duty to protect the community and encourages the use of

excessive force.

       53. Even with the same access as the prosecutor’s office to the evidence

here, City still didn’t terminate Schurr from the police department until after he was

charged with murder.

       54. At Schurr’s preliminary examination, City’s supervising officer

testified that Schurr was justified in his use of deadly force against Patrick.

Therefore, City ratified the constitutional violations committed when Schurr killed

Patrick.

       55. In addition to failing to train, supervise, and discipline officers on the

use of excessive force, City has an ongoing practice or custom of racial

discrimination.


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       56. Furthermore, a study was released in April of 2017 that showed that

Black drivers were more than twice as likely than white drivers to be stopped by the

City’s Police Department. Black people only make up 14% of the City’s population.

       57. Recently, the Michigan Department of Civil Rights has announced that

they are investigating complaints of racial discrimination against City’s Police

Department. The agency has received over 60 complaints related to racial profiling

and disparate treatment from Grand Rapids police officers.

       58. Tragically     and    predictably,    City’s   unconstitutional     policies,

procedures, protocols, and customs, are the moving force behind the constitutional

violations complained of here and Patrick’s death.

                          COUNT III:
             STATE LAW CLAIMS-GROSS NEGLIGENCE &
            WILLFUL AND WANTON MISCONDUCT—SCHURR

      59.    Each of the above paragraphs are incorporated here.

      60.    Schurr owed Patrick a duty to act legally and reasonably and to avoid

the use of unnecessary and/or excessive force.

      61.    Schurr was grossly negligent and breached these duties to Patrick.

      62.    Schurr breached his duties to Patrick in a number of ways including but

not limited to the following:


             a. Failure to make a proper and lawful traffic stop;

             b. Failure to deescalate;

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                c. Failure to wait for back up;

                d. Failure to create sufficient space before deploying each Taser probe;
                e. Failure to warn Patrick of his intent to use force before he deployed
                   his taser and/or before he fired his gun;

                f. Failure to use other methods of detainment, arrest, and/or
                   apprehension, short of force including, but not limited to allowing
                   Patrick to flee from an alleged violation of a traffic offense;
                g. An inappropriate, excessive, and inexcusable use of force with a
                   Taser;

                h. An inappropriate, excessive, and inexcusable use of deadly force
                   with a gun; and
                i. Any additional acts and/or failures determined through discovery.


          63.   Schurr’s actions demonstrated a reckless disregard of his legal duties as

 well as a substantial lack of concern for whether death or injury would result from

 his actions.

          64.   Likewise, Schurr’s actions were willful and wanton as they

 demonstrated a malicious risk of harm and an indifference to the consequences of

 his actions.

          65.   As the direct and proximate result of Schurr’s gross negligence and/or

 willful and wanton misconduct, Patrick was unlawfully and unnecessarily killed.


                                RELIEF REQUESTED
          WHEREFORE, Plaintiff respectfully requests that this Honorable Court

 grant:

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        a. Full and fair compensatory damages in an amount to be determined by a
           jury;

        b. Punitive damages in an amount to be determined by a jury;

        c. Reasonable attorney’s fees and costs of this action;

        d. Pursuant to MCL 600.2922, award Patrick Lyoya’s estate fair and
           equitable damages, including, but not limited to, reasonable medical,
           hospital, funeral, and burial expenses for which the estate is liable;
           reasonable compensation for Patrick’s pain and suffering, while
           conscious, during the intervening period between the time of his injuries
           and his death; loss of Patrick’s financial support; loss of services; loss of
           gifts or other valuable gratuities society; and companionship; loss of
           parental training and guidance; as well as any other damages cognizable
           under law; and
        e. Any other relief that is fair and just.




                                                Respectfully submitted,

                                                JOHNSON LAW, PLC.


 Dated: December 7, 2022                by: /s/ Ayanna D. Hatchett__________
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                                  JURY DEMAND


       Respectfully, Plaintiff demands a trial by jury. Fed. R. Civ. P. 38(b),




                                               Respectfully submitted,

                                               JOHNSON LAW, PLC.


 Dated: December 7, 2022                       by: /s/ Ayanna D. Hatchett__________
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